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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

       BARBARA GOODMAN, LISA                       )
       COUNTRYMAN, SHARON                          )
       CLARKE, CHERYL GALLOPS,                     )
       SHERRI STUCKEY, LAUREN                      )
       SPIVEY and TIFFANY                          )
       HAIRSTON-LOTT,                              )
       individually, and on behalf of all          )
       others similarly situated,                  )
                                                   )
                Plaintiffs,                        )
                                                   )
       v.                                          )      Case No.: 4:21-cv-00015-CDL
                                                   )
       COLUMBUS REGIONAL                           )
       HEALTHCARE SYSTEM, INC.                     )
                                                   )
                Defendant.                         )

                                              ORDER

       Plaintiffs have moved pursuant to Fed. R. Civ. P. 21 to drop plaintiff Tiffany Hairston-

Lott because information developed in discovery shows that she withdrew from the ERISA plan

at issue in this case prior to the beginning of the proposed class period and thus lacks standing.

Defendant does not object. Accordingly, Tiffany Hairston-Lott is dropped as a party to the

action. Additionally, the parties and the Clerk are directed to re-cast the style of the case by

deleting Tiffany Hairston-Lott as a named Plaintiff.

       SO ORDERED this 29th day of September, 2022.



                                               ___S/Clay D. Land
                                               HON. CLAY D. LAND
                                               UNITED STATES DISTRICT JUDGE
